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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Gulf Coast Health Care, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  40 South Palafox Place, Suite 400
                                  Pensacola, FL 32502
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Escambia                                                      Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.gchc.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Gulf Coast Health Care, LLC                                                                Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6231

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
     A debtor who is a “small            Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                       $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                    operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                     debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                Case number
                                                  District                                When                                Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                  Relationship             Affiliate
                                                  District   Delaware                     When                            Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor     Gulf Coast Health Care, LLC                                                              Case number (if known)
           Name



11. Why is the case filed in       Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                    No
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                 What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                               It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                 livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                               No
                                               Yes. Insurance agency
                                                           Contact name
                                                           Phone



           Statistical and administrative information

13. Debtor's estimation of         .       Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                           1,000-5,000                               25,001-50,000
    creditors                       50-99                                          5001-10,000                               50,001-100,000
                                    100-199                                        10,001-25,000                             More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                    $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities           $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                    $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

Note: The information provided regarding number of creditors, assets, and liabilities in Items 14-16 is being provided on a consolidated basis for the entities
listed on Rider 1.




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Debtor    Gulf Coast Health Care, LLC                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       10/14/2021
                                                  MM / DD / YYYY


                             X                                                                            M. Benjamin Jones
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X                                                                             Date    10/14/2021
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 David R. Hurst
                                 Printed name

                                 McDermott Will & Emery LLP
                                 Firm name

                                 1007 North Orange Street
                                 10th Floor
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-485-3900                  Email address      dhurst@mwe.com

                                 3743 DE
                                 Bar number and State




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                                             Rider 1

                     Pending Bankruptcy Cases Filed by the Debtor and
                      Certain Affiliates and Subsidiaries of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases for procedural purposes only under the case number assigned to the
chapter 11 case of Debtor Gulf Coast Health Care, LLC.

                      Debtor Name                                        EIN Number
               Gulf Coast Health Care, LLC                                XX-XXXXXXX
            GCH Management Services, LLC                                  XX-XXXXXXX
                   HUD Facilities, LLC                                    XX-XXXXXXX
                Gulf Coast Facilities, LLC                                XX-XXXXXXX
                  Florida Facilities, LLC                                 XX-XXXXXXX
         Pensacola Administrative Holdings, LLC                           XX-XXXXXXX
         Pensacola Administrative Services, LLC                           XX-XXXXXXX
         Gulf Coast Master Tenant Holdings, LLC                           XX-XXXXXXX
             Gulf Coast Master Tenant I, LLC                              XX-XXXXXXX
            Gulf Coast Master Tenant II, LLC                              XX-XXXXXXX
           Gulf Coast Master Tenant III, LLC                              XX-XXXXXXX
                    AL Citronelle, LLC                                    XX-XXXXXXX
                  AL Willow Tree, LLC                                     XX-XXXXXXX
                Brevard Oaks Center, LLC                                  XX-XXXXXXX
                FL HUD Baybreeze, LLC                                     XX-XXXXXXX
                  FL HUD Bayside, LLC                                     XX-XXXXXXX
                   FL HUD Destin, LLC                                     XX-XXXXXXX
                 FL HUD Margate, LLC                                      XX-XXXXXXX
                FL HUD Pensacola, LLC                                     XX-XXXXXXX
                FL HUD Rosewood, LLC                                      XX-XXXXXXX
                FL HUD Silvercrest, LLC                                   XX-XXXXXXX
                     MF Debary, LLC                                       XX-XXXXXXX
                     MF Flagler, LLC                                      XX-XXXXXXX
                     MF Halifax, LLC                                      XX-XXXXXXX
                    MF Heritage, LLC                                      XX-XXXXXXX
                   MF Lake Eustis, LLC                                    XX-XXXXXXX
                   MF Longwood, LLC                                       XX-XXXXXXX
                    MF Oakwood, LLC                                       XX-XXXXXXX
                  MF Winter Park, LLC                                     XX-XXXXXXX
                  MS Greenbough, LLC                                      XX-XXXXXXX
                MS HUD Boyington, LLC                                     XX-XXXXXXX
                   MS HUD Dixie, LLC                                      XX-XXXXXXX
              MS HUD Ocean Springs, LLC                                   XX-XXXXXXX
                MS HUD Pine View, LLC                                     XX-XXXXXXX
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                 Debtor Name                                  EIN Number
               MS Lakeside, LLC                                XX-XXXXXXX
                MS Shelby, LLC                                 XX-XXXXXXX
               MS Singing, LLC                                 XX-XXXXXXX
              NF Brynwood, LLC                                 XX-XXXXXXX
                NF Chipola, LLC                                XX-XXXXXXX
               NF Escambia, LLC                                XX-XXXXXXX
              NF Glen Cove, LLC                                XX-XXXXXXX
                NF Manor, LLC                                  XX-XXXXXXX
              NF Nine Mile, LLC                                XX-XXXXXXX
                NF Panama, LLC                                 XX-XXXXXXX
           NF Pensacola Manor, LLC                             XX-XXXXXXX
             NF River Chase, LLC                               XX-XXXXXXX
              NF Suwannee, LLC                                 XX-XXXXXXX
               NF Windsor, LLC                                 XX-XXXXXXX
SC-GA2018 Cobblestone Rehabilitation and Healthcare            XX-XXXXXXX
                  Center, LLC
               SF Berkshire, LLC                               XX-XXXXXXX
               SF Boynton, LLC                                 XX-XXXXXXX
                SF Brevard, LLC                                XX-XXXXXXX
               SF Carnegie, LLC                                XX-XXXXXXX
            SF Fountainhead, LLC                               XX-XXXXXXX
              SF Glen Oaks, LLC                                XX-XXXXXXX
              SF Kissimmee, LLC                                XX-XXXXXXX
           SF Lake Placid ALF, LLC                             XX-XXXXXXX
              SF Lake Placid, LLC                              XX-XXXXXXX
               SF Oakbrook, LLC                                XX-XXXXXXX
             SF Royal Manor, LLC                               XX-XXXXXXX
                SF Salerno, LLC                                XX-XXXXXXX
                SF Tampa, LLC                                  XX-XXXXXXX
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                                                                            EXECUTION VERSION


                          GULF COAST HEALTH CARE, LLC
                    PENSACOLA ADMINISTRATIVE HOLDINGS, LLC
                    GULF COAST MASTER TENANT HOLDINGS, LLC
                              _______________________
                                          Written Consent
                                                 of
                                       Independent Manager
                                    _______________________

                                         October 13, 2021

         The undersigned, being the Independent Manager (the “Independent Manager”) of Gulf
Coast Health Care, LLC, a Delaware limited liability company (“GCHC”), Pensacola Administrative
Holdings, LLC, a Delaware limited liability company (“PAH”), and Gulf Coast Master Tenant
Holdings, LLC, a Delaware limited liability company (“GCMTH” and together with GCHC and
PAH, the “Parent Companies” and each, a “Parent Company”), acting on behalf of each Parent
Company in accordance with the limited liability company agreement of such Parent Company
(each, a “Parent Company LLC Agreement”), and each Parent Company acting on behalf of each of
its direct subsidiaries listed on Schedule A (each, a “Subsidiary” and together with the Parent
Companies, the “Companies” and each, a “Company”), and such Subsidiaries acting on behalf of the
other Subsidiaries, as member and/or manager of such Subsidiaries, in accordance with the limited
liability company agreement of such Subsidiaries, hereby consents to the following actions and
adopts the following resolutions with respect to each Company in lieu of a meeting effective as of
the date hereof.

Appointment of Chief Restructuring Officer

        WHEREAS, the Independent Manager may appoint officers and agents of each Parent
Company, and may cause each Parent Company or any Subsidiary to appoint officers and agents of
each Subsidiary, in each case as the Independent Manager shall deem necessary or advisable in
connection with a Restructuring Action (as defined in each Parent Company LLC Agreement), who
shall hold their offices for such terms and shall exercise such powers and perform such duties as
shall be determined from time to time by the Independent Manager, acting for or on behalf of any
Company; and

       WHEREAS, the Independent Manager deems it to be in the best interest of each Company
to appoint M. Benjamin Jones as Chief Restructuring Officer (the “CRO”), and Russell A. Perry as
Assistant Chief Restructuring Officer (the “Assistant CRO” and, together with the CRO, the
“Restructuring Officers”), to, among other things, assist the Companies in their review, evaluation,
and analysis of one or more strategic and/or financing transactions.

       NOW THEREFORE BE IT RESOLVED, M. Benjamin Jones and Russell A. Perry, be, and
hereby are, appointed to serve as the CRO and the Assistant CRO, respectively, of the Companies
for such a term, and shall exercise such powers and perform such duties as shall be determined by
the Independent Manager, and in accordance with the terms and conditions of that certain
engagement letter, dated as of October 13, 2021, by and among the Companies and Ankura
Consulting Group, LLC, as may be amended from time to time.
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Chapter 11 Filing

        WHEREAS, the Independent Manager has considered presentations by the financial and
legal advisors of each Company regarding the liabilities and liquidity situation of each Company,
the strategic alternatives available, and the effect of the foregoing on each Company’s business and
creditors; and

       WHEREAS, the Independent Manager has had the opportunity to consult with the financial
and legal advisors of the Companies and fully consider each of the strategic alternatives available to
the Companies.

         NOW, THEREFORE, BE IT RESOLVED, that it is advisable and in the best interest of each
Company (including a consideration of its creditors and other parties-in-interest) that each Company
shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition for relief (each a
“Chapter 11 Case” and collectively, the “Chapter 11 Cases”) under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”); and

          FURTHER RESOLVED, that the Restructuring Officers and any other duly appointed
officer of any Company or any other person acting at the direction of the foregoing officers or the
Restructuring Officers (collectively, the “Authorized Signatories”), acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered, and directed to
execute and file on behalf of each Company all petitions, schedules, lists and other motions, papers,
or documents, and to take any and all actions that they deem necessary, proper, or convenient to obtain
such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of each Company’s business.

 Entry into Restructuring Support Agreement

         WHEREAS, the Independent Manager has considered presentations by the financial and
 legal advisors of each Company regarding the advantages and disadvantages to each Company of
 the transactions contemplated by that certain Restructuring Support Agreement, by and among the
 Companies, certain direct and indirect equity holders of the Companies, certain service providers
 to the Companies, OHI Asset Funding (DE), LLC (“Omega”) and certain affiliates thereof, and
 New Ark Capital, LLC (as may be amended or modified from time to time and including all exhibits
 and supplements thereto, the “RSA”); and

          WHEREAS, the Independent Manager has had the opportunity to consult with the financial
and legal advisors of the Companies and fully consider each of the strategic alternatives to the
transactions contemplated by the RSA.

          NOW, THEREFORE, BE IT RESOLVED, that it is advisable and in the best interests of
each Company, its equityholders, its creditors, and other parties-in-interest to enter into the RSA,
and that each Company’s performance of its obligations under the RSA be, and hereby is, in all
respects, authorized and approved; and

         FURTHER RESOLVED, that the Authorized Signatories, acting alone or with one or more
other Authorized Signatories be, and they hereby are, authorized, empowered, and directed to
execute the RSA on behalf of the Companies, and perform all the transactions contemplated thereby.
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Retention of Professionals

         NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories be, and
hereby is, authorized, empowered, and directed to employ the law firm of McDermott Will & Emery
LLP (“McDermott”) as general bankruptcy counsel to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
rights and obligations, including filing any motions, objections, replies, applications, or pleadings;
and in connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and to cause to be filed an appropriate application for authority to retain the
services of McDermott;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to employ the firm of Epiq Corporate Restructuring, LLC
(“Epiq”) as claims, noticing, and administrative agent to represent and assist each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Company’s rights and obligations; and in connection therewith, each of the Authorized Signatories,
with power of delegation, is hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed appropriate
applications for authority to retain the services of Epiq;

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is,
authorized, empowered, and directed to employ any other professionals to assist each Company in
carrying out its duties under the Bankruptcy Code; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers and fees, and to cause to be filed
appropriate applications for authority to retain the services of any other professionals as necessary,
proper, or convenient; and

        FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby is, with the
power of delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers, and, in connection therewith, to employ and
retain all assistance by legal counsel, accountants, financial advisors, and other professionals and to
take and perform any and all further acts and deeds that each of the Authorized Signatories deem
necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with a view to
the successful prosecution of such case.

Debtor-in-Possession Financing, Cash Collateral, and Adequate Protection

       WHEREAS, reference is made to that certain debtor-in-possession term sheet (together with
any and all exhibits, schedules, and annexes thereto, the “DIP Term Sheet”) providing for a secured
debtor-in-possession term loan credit facility of up to $25 million in the aggregate to be provided by
Omega or affiliates thereof (as amended, amended and restated, supplemented, or otherwise modified
from time to time, the “DIP Facility” and the financing to be provided thereunder, the “DIP
Financing”) and the use of the cash collateral, as that term is defined in Bankruptcy Code section
363(a) (the “Cash Collateral” and the funding to be provided through the use of Cash Collateral, the
“New Ark Funding”), which is security for certain prepetition secured lenders under that certain
Credit Agreement, by and between Wells Fargo Bank, N.A. (“Wells Fargo”) and GCHC and certain

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of its affiliates and subsidiaries, dated as of July 6, 2018, which subsequently was assigned by Wells
Fargo to New Ark Capital, LLC (“New Ark”).

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Independent Manager,
each Company will receive benefits from the DIP Financing and the New Ark Funding, and it is
advisable and in the best interest of each Company, each Company’s equityholders, creditors, and
other parties-in-interest that the form, terms, and provisions of (i) the DIP Term Sheet and (ii) the
Documentation and New Ark Funding Documentation (both as defined in the DIP Term Sheet and,
together, the “DIP Documentation”), and all other documents, agreements, instruments or
certificates, intellectual property security agreements, joinders, and consents to be executed,
delivered, or filed by each Company in connection therewith, and the transactions contemplated by
the DIP Term Sheet and the DIP Documentation (in each case including, without limitation, the
borrowings and other extensions of credit thereunder, and the guaranties, liabilities, obligations,
security interest granted, and notes issued, if any, in connection therewith) be authorized, adopted,
and approved in substantially the form presented to the Independent Manager, together with such
changes as may be approved by the Authorized Signatories executing and delivering the same, such
approval to be conclusively evidenced by such Authorized Signatory’s execution and delivery
thereof;

       FURTHER RESOLVED, that the form, terms, and provisions of the DIP Term Sheet and
DIP Documentation be, and hereby are, authorized, adopted, and approved in substantially the form
presented to the Independent Manager, together with such changes as may be approved by the
Authorized Signatories executing and delivering the same, such approval to be conclusively
evidenced by such Authorized Signatory’s execution and delivery thereof, and each Company’s
execution and delivery of, and the incurrence and performance of its obligations in connection with,
the DIP Term Sheet and DIP Documentation, and the consummation of the transactions
contemplated thereby or entered into in connection with the DIP Term Sheet and DIP
Documentation, including, without limitation, any borrowing by any Company under the DIP Term
Sheet and DIP Documentation, are hereby, in all respects, authorized and approved;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the DIP Financing
and the New Ark Funding, and in accordance with Bankruptcy Code section 363, each Company will
provide certain liens, claims, and adequate protection to Omega and New Ark to secure the
obligations of the Companies under the DIP Facility and New Ark Funding as documented in a
proposed order in interim and final form (each, a “DIP Order” and, together, the “DIP Orders”),
authorizing and approving the DIP Term Sheet, the DIP Documentation, and the transactions
contemplated thereby, and submitted for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the DIP Orders to which
each Company is or will be subject, and the actions and transactions contemplated thereby are hereby
authorized, adopted, and approved, and each of the Authorized Signatories of each Company be, and
hereby is, authorized and empowered, in the name of and on behalf of each Company, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, each DIP Order and such other agreements, certificates, instruments,
receipts, petitions, motions, or other papers or documents relating to the transactions contemplated
thereby to which each Company is or will be a party, including, but not limited to, any security
agreements, pledge agreements, guaranty agreements, assignment documents, notices, financing
statements, mortgages, intellectual property filings, tax affidavits, fee letters and other instruments

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as Omega or New Ark may reasonably request or as may be necessary or appropriate to create,
preserve, and perfect the liens granted under the DIP Term Sheet and DIP Documentation and to
otherwise consummate the transactions contemplated thereby, with any changes, additions, and
modifications to the DIP Term Sheet, DIP Documentation, and DIP Orders (collectively, the “DIP
Documents”) as any Authorized Signatory executing the same shall approve, such approval to be
conclusively evidenced by such Authorized Signatory’s execution and delivery thereof; and

        FURTHER RESOLVED, that each of the Authorized Signatories of each Company be, and
hereby is, authorized, directed, and empowered in the name of, and on behalf of, each Company to
take all such further actions, including, without limitation, to pay all fees and expenses payable in
accordance with the terms of the DIP Documents, to arrange for and enter into supplemental
agreements, amendments, instruments, certificates, or documents relating to the transactions
contemplated by any of the DIP Documents and to execute and deliver all such supplemental
agreements, amendments, instruments, certificates, or documents in the name and on behalf of each
of the Companies, which shall in their sole judgment be necessary, proper, or advisable in order to
perform such Companies’ obligations under or in connection with any of the DIP Documents and
the transactions contemplated thereby (execution by such Authorized Signatory to constitute
conclusive evidence of such judgment), and to carry out fully the intent of the foregoing resolutions.
The performance of any such further act or thing and the execution of any such document or
instrument by any of the Authorized Signatories of the Companies pursuant to these resolutions shall
be conclusive evidence that the same have been authorized and approved by the Companies in every
respect.

General Resolutions

        NOW, THEREFORE, BE IT RESOLVED, that the Authorized Signatories of each of the
Companies be, and each of them hereby is, authorized, empowered, and directed to execute,
acknowledge, verify, deliver, and file any and all such other agreements, documents, instruments,
and certificates and to take such other actions as may be necessary, proper, or appropriate in order
to carry out the intent and purposes of the foregoing resolutions;

         FURTHER RESOLVED, that any and all actions heretofore or hereafter taken and expenses
incurred in the name of and on behalf of any Company by any officer, member, manager, or
Authorized Signatory of any Company in connection with or related to the matters set forth or
contemplated by the foregoing resolutions be, and they hereby are, approved, ratified, and confirmed
in all respects; and

       FURTHER RESOLVED, that an Authorized Signatory of the Companies is hereby
authorized to certify to third parties with respect to adoption of these resolutions in the form and
substance satisfactory to them.




                                                   5
              Case 21-11336-KBO        Doc 1   Filed 10/14/21   Page 12 of 25




        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
date first written above.

                                 GULF COAST HEALTH CARE, LLC
                                 PENSACOLA ADMINISTRATIVE HOLDINGS, LLC
                                 GULF COAST MASTER TENANT HOLDINGS, LLC


                                 By:     ___________________________________
                                         Name: Scott D. Vogel
                                         Title: Independent Manager


                                 PENSACOLA ADMINISTRATIVE SERVICES, LLC

                                 By: Pensacola Administrative Holdings, LLC, as member and
                                 manager


                                 By:     ___________________________________
                                         Name: Scott D. Vogel
                                         Title: Independent Manager


                                 GULF COAST MASTER TENANT I, LLC
                                 GULF COAST MASTER TENANT II, LLC
                                 GULF COAST MASTER TENANT III, LLC

                                 By: Gulf Coast Master Tenant Holdings, LLC, as member and
                                 manager


                                 By:     ___________________________________
                                         Name: Scott D. Vogel
                                         Title: Independent Manager




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 21-11336-KBO        Doc 1    Filed 10/14/21   Page 13 of 25




        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
date first written above.

                                 GCH MANAGEMENT SERVICES, LLC

                                 By: Gulf Coast Health Care, LLC, as member and manager


                                 By:      ___________________________________
                                          Name: Scott D. Vogel
                                          Title: Independent Manager

                                 By: Pensacola Administrative Services, LLC, as member

                                       By: Pensacola Administrative Holdings, LLC, as manager


                                 By:      ___________________________________
                                          Name: Scott D. Vogel
                                          Title: Independent Manager


                                 FLORIDA FACILITIES, LLC
                                 GULF COAST FACILITIES, LLC
                                 HUD FACILITIES, LLC

                                 By: Gulf Coast Health Care, LLC, as member


                                 By:      ___________________________________
                                          Name: Scott D. Vogel
                                          Title: Independent Manager


                                 By: GCH Management Services, LLC, as member

                                    By: Gulf Coast Health Care, LLC, as manager


                                    By: ___________________________________
                                        Name: Scott D. Vogel
                                        Title: Independent Manager




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 21-11336-KBO      Doc 1    Filed 10/14/21   Page 14 of 25




        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
date first written above.

                                 FL HUD BAYBREEZE, LLC
                                 FL HUD BAYSIDE, LLC
                                 FL HUD DESTIN, LLC
                                 FL HUD MARGATE, LLC
                                 FL HUD PENSACOLA, LLC
                                 FL HUD ROSEWOOD, LLC
                                 FL HUD SILVERCREST, LLC
                                 MS HUD BOYINGTON, LLC
                                 MS HUD DIXIE, LLC
                                 MS HUD OCEAN SPRINGS, LLC
                                 MS HUD PINE VIEW, LLC

                                 By: HUD Facilities, LLC, as sole member

                                    By: Gulf Coast Health Care, LLC, as member


                                    By: ___________________________________
                                        Name: Scott D. Vogel
                                        Title: Independent Manager

                                    By: GCH Management Services, LLC, as member

                                       By: Gulf Coast Health Care, LLC, as manager


                                       By:     ___________________________________
                                               Name: Scott D. Vogel
                                               Title: Independent Manager




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 21-11336-KBO      Doc 1    Filed 10/14/21    Page 15 of 25




        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
date first written above.

                                 AL CITRONELLE, LLC
                                 AL WILLOW TREE, LLC
                                 BREVARD OAKS CENTER, LLC
                                 MS GREENBOUGH, LLC
                                 MS LAKESIDE, LLC
                                 MS SHELBY, LLC
                                 MS SINGING, LLC
                                 NF BRYNWOOD, LLC
                                 NF CHIPOLA, LLC
                                 NF ESCAMBIA, LLC
                                 NF GLEN COVE, LLC
                                 NF MANOR, LLC
                                 NF NINE MILE, LLC
                                 NF PANAMA, LLC
                                 NF PENSACOLA MANOR, LLC
                                 NF RIVER CHASE, LLC
                                 NF SUWANNEE, LLC
                                 NF WINDSOR, LLC
                                 SC-GA2018 COBBLESTONE REHABILITATION AND
                                 HEALTHCARE CENTER, LLC

                                 By: Gulf Coast Facilities, LLC, as sole member

                                    By: Gulf Coast Health Care, LLC, as member


                                    By: ___________________________________
                                        Name: Scott D. Vogel
                                        Title: Independent Manager

                                    By: GCH Management Services, LLC, as member

                                       By: Gulf Coast Health Care, LLC, as manager


                                       By:     ___________________________________
                                               Name: Scott D. Vogel
                                               Title: Independent Manager




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
              Case 21-11336-KBO      Doc 1    Filed 10/14/21    Page 16 of 25




        IN WITNESS WHEREOF, the undersigned has executed this Written Consent as of the
date first written above.

                                 MF DEBARY, LLC
                                 MF FLAGLER, LLC
                                 MF HALIFAX, LLC
                                 MF HERITAGE, LLC
                                 MF LAKE EUSTIS, LLC
                                 MF LONGWOOD, LLC
                                 MF OAKWOOD, LLC
                                 MF WINTER PARK, LLC
                                 SF BERKSHIRE, LLC
                                 SF BOYNTON, LLC
                                 SF BREVARD, LLC
                                 SF CARNEGIE, LLC
                                 SF FOUNTAINHEAD, LLC
                                 SF GLEN OAKS, LLC
                                 SF KISSIMMEE, LLC
                                 SF LAKE PLACID ALF, LLC
                                 SF LAKE PLACID, LLC
                                 SF OAKBROOK, LLC
                                 SF ROYAL MANOR, LLC
                                 SF SALERNO, LLC
                                 SF TAMPA, LLC


                                 By: Florida Facilities, LLC, as sole member

                                    By: Gulf Coast Health Care, LLC, as member


                                    By: ___________________________________
                                        Name: Scott D. Vogel
                                        Title: Independent Manager

                                    By: GCH Management Services, LLC, as member

                                       By: Gulf Coast Health Care, LLC, as manager


                                       By:     ___________________________________
                                               Name: Scott D. Vogel
                                               Title: Independent Manager




                          [SIGNATURE PAGE TO WRITTEN CONSENT]
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                                  SCHEDULE A

      Subsidiaries
1.    AL Citronelle, LLC
2.    AL Willow Tree, LLC
3.    Brevard Oaks Center, LLC
4.    FL HUD Baybreeze, LLC
5.    FL HUD Bayside, LLC
6.    FL HUD Destin, LLC
7.    FL HUD Margate, LLC
8.    FL HUD Pensacola, LLC
9.    FL HUD Rosewood, LLC
10.   FL HUD Silvercrest, LLC
11.   Florida Facilities, LLC
12.   GCH Management Services, LLC
13.   Gulf Coast Facilities, LLC
14.   Gulf Coast Master Tenant I, LLC
15.   Gulf Coast Master Tenant II, LLC
16.   Gulf Coast Master Tenant III, LLC
17.   HUD Facilities, LLC
18.   MF Debary, LLC
19.   MF Flagler, LLC
20.   MF Halifax, LLC
21.   MF Heritage, LLC
22.   MF Lake Eustis, LLC
23.   MF Longwood, LLC
24.   MF Oakwood, LLC
25.   MF Winter Park, LLC
26.   MS Greenbough, LLC
27.   MS HUD Boyington, LLC
28.   MS HUD Dixie, LLC
29.   MS HUD Ocean Springs, LLC
30.   MS HUD Pine View, LLC
31.   MS Lakeside, LLC
32.   MS Shelby, LLC
33.   MS Singing, LLC
34.   NF Brynwood, LLC
35.   NF Chipola, LLC
36.   NF Escambia, LLC
37.   NF Glen Cove, LLC
38.   NF Manor, LLC
39.   NF Nine Mile, LLC
40.   NF Panama, LLC
41.   NF Pensacola Manor, LLC
42.   NF River Chase, LLC
43.   NF Suwannee, LLC
44.   NF Windsor, LLC
45.   Pensacola Administrative Services, LLC
              [SCHEDULE A TO OMNIBUS ACTION BY WRITTEN CONSENT]
         Case 21-11336-KBO       Doc 1   Filed 10/14/21   Page 18 of 25




46.   SC-GA2018 Cobblestone Rehabilitation and Healthcare Center, LLC
47.   SF Berkshire, LLC
48.   SF Boynton, LLC
49.   SF Brevard, LLC
50.   SF Carnegie, LLC
51.   SF Fountainhead, LLC
52.   SF Glen Oaks, LLC
53.   SF Kissimmee, LLC
54.   SF Lake Placid ALF, LLC
55.   SF Lake Placid, LLC
56.   SF Oakbrook, LLC
57.   SF Royal Manor, LLC
58.   SF Salerno, LLC
59.   SF Tampa, LLC




             [SCHEDULE A TO OMNIBUS ACTION BY WRITTEN CONSENT]
Debtor     Gulf Coast Health Care, LLC, et al.
                                                      Case 21-11336-KBO                                  Doc 1        Filed 10/14/21                      Page Case
                                                                                                                                                                19number
                                                                                                                                                                    of 25(if known)




     Fill in this information to identify the case:
     Debtor name: Gulf Coast Health Care, LLC, et al.,
     United States Bankruptcy Court for the: District of Delaware
     Case number (If known):                                                                                                                                 Check if this is an amended
                                                                                                                                                              filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 40 Largest Unsecured Claims and Are
     Not Insiders                                                                            12/15
     A list of creditors holding the 40 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
     who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
     the holders of the 40 largest unsecured claims.


         Name of creditor and complete mailing address,               Name, telephone number, and email Nature of the claim Indicate if claim is Amount of unsecured claim
                       including zip code                            address of creditor contact        (for example, trade    contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                         debts, bank loans,  unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                            professional         disputed        deduction for value of collateral or setoff to calculate unsecured
                                                                                                              services,                          claim.
                                                                                                          and government
                                                                                                               contracts)                                                    Deduction for
                                                                                                                                                      Total claim, if      value of collateral
                                                                                                                                                    partially secured          or setoff            Unsecured claim
     The Delta Group
     c/o Delta Health Group, LLC                                    Name: David L. Swanson
     Attn: David L. Swanson                                         Email: dswanson@lockelord.com
   1 6984 Pine Forest Rd                                                                                               Seller Note                                                               $        49,402,516.10
                                                                    Phone: (214) 740-8514
     Pensacola, FL 32526
     United States
     Omega Landlords
     c/o Omega Healthcare Investors, Inc.                           Name: Gary Holtzer, Robert Lemons, and
                                                                             Leighton Aiken
   2 Attn: Weil Gotshal & Manges LLP
     767 Fifth Avenue                                               Email: gary.holtzer@weil.com                          Rent                                                                   $        48,996,164.00
     New York, NY 10153                                                    robert.lemons@weil.com
     United States                                                         laiken@fbfk.law
                                                                    Phone: (212) 310-8463
     The Centers for Medicare & Medicaid Services (CMS)
     7500 Security Boulevard                                        Name: Chiquita Brooks-Lasure
     Baltimore, MD 21244                                            Email: Chiquita.brooks-
   3 United States                                                  lasure@cms.hhs.gov                           Government Programs                                                             $        11,518,884.14
                                                                    Phone: (877) 267-2323


     Millenia Claims Management
     7050 W. Palmetto Park Rd. #15-642                              Name: Sheila Kieffer, AIC
     Boca Raton, FL 33433                                           Email: skieffer@milleniaclaims.com
   4 United States                                                  Phone: (561) 686-1084                                Trade                                                                   $        4,459,928.03



     Omnicare, Inc.
     900 Omnicare Center
     201 E. 4th Street                                              Name: Tammy Duran
   5 Cincinnati, OH 45202                                           Email: tammy.duran@cvshealth.com                     Trade                                                                   $        3,235,930.89
     United States                                                  Phone: (480) 765-6274


     Anthem Insurance Companies, Inc.
     d/b/a Anthem Blue Cross Blue Shield
     220 Virginia Ave.                                              Name: Jennifer Frostick (Client Executive)
   6 Indianapolis, IN 46204                                         Email: jennifer.frostick@anthem.com                 Benefits                                                                 $        1,466,866.93
     United States                                                  Phone: (347) 712-1356


    Careerstaff Unlimited, LLC
    6333 N. State Highway 161, Suite 100
    Irving, TX 75038                                                Name: Laura Lafary (AR Specialist)
  7 United States                                                   Email: laura.lafary@careerstaff.com             Staffing Agency                                                              $        1,324,850.35
                                                                    Phone: (813) 326-4754


    Gordon Food Service, Inc.
    1300 Gezon Pkwy SW
    Wyoming, MI 49509                                               Name: Curt Davis (Credit Manager)
  8 United States                                                   Email: curt.davis@gfs.com                            Trade                                                                   $        1,207,388.76
                                                                    Phone: (800) 968-6553


    Medline Industries
    Dept. Ch. 14400
    Palatine, IL 60055                                              Name: Becky Maynard
  9 United States                                                   Email: bmaynard@medline.com                          Trade                                                                   $        1,196,499.13
                                                                    Phone: (847) 643-3030


     Precision Healthcare Staffing, LLC
     4209 Lakeland Drive #363                                       Name: Shonda Lyons
     Flowood, MS 39232                                              Email: shonda@precisionhcs.com
                                                                                                                    Staffing Agency                                                              $          847,811.12
  10 United States                                                  Phone: (877) 891-4286


     Elite Medical Staffing
     8250 Bryan Dairy Road, Suite 310                               Name: Bob Webster
     Seminole, FL 33777                                             Email: bwebster@elitemedicalstaffing.com
                                                                                                                    Staffing Agency                                                              $          479,213.11
  11 United States                                                  Phone: (727) 314-4811




Official Form 204                                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                page 1
Debtor     Gulf Coast Health Care, LLC, et al.
                                                 Case 21-11336-KBO                             Doc 1        Filed 10/14/21                      Page Case
                                                                                                                                                      20number
                                                                                                                                                          of 25(if known)




         Name of creditor and complete mailing address,     Name, telephone number, and email Nature of the claim Indicate if claim is Amount of unsecured claim
                       including zip code                  address of creditor contact        (for example, trade    contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                               debts, bank loans,  unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                  professional         disputed        deduction for value of collateral or setoff to calculate unsecured
                                                                                                    services,                          claim.
                                                                                                and government
                                                                                                     contracts)                                                    Deduction for
                                                                                                                                            Total claim, if      value of collateral
                                                                                                                                          partially secured          or setoff            Unsecured claim
     Robert Johnson
     c/o De La Piedra                                     Name: Jack De La Piedra
                                                          Email: jack@delapiedralaw.com
  12 6 Tristan Way                                                                                      Litigation Settlement                                                          $          426,302.84
     Pensacola, FL 32561                                  Phone: (850) 932-8560
     United States

     Direct Supply
     7301 W. Champions Way                                Name: Leala Moen
     Milwaukee, WI 53223                                  Email: leala_moen@homedepot.com
  13 United States                                        Phone: (904) 229-7030
                                                                                                               Trade                                                                   $          390,107.12


     Blue Mountain Entities
     c/o Arent Fox LLP
     1301 Avenue of the Americas, 42nd Floor              Name: George Angelich & Michael Blass
  14 New York, NY 10019                                   Email: george.angelich@arentfox.com                   Rent                                                                   $          375,562.04
     United States                                               michael.blass@arentfox.com
                                                          Phone: (212) 484-3900

     Norvell Brown
     c/o Mendes, Reins & Wilander                         Name: Blair N. Mendes
     4401 W. Kennedy Blvd Ste. 250                        Email: blair@mrwlawgroup.com
  15 Tampa, FL 33609                                      Phone: (813) 535-5053                         Litigation Settlement                                                          $          314,825.91
     United States


    Osceola Supply, Inc.
    915 Commerce Blvd.                                    Name: Ian White
 16 Midway, FL 32343                                      Email: iwhite@osceolasupply.com
    United States                                         Phone: (850) 580-9800                                Trade                                                                   $          304,004.02



    Louis Kraus
    c/o Mendes, Reins & Wilander                          Name: Blair N. Mendes
 17 4401 W. Kennedy Blvd Ste. 250                         Email: blair@mrwlawgroup.com
    Tampa, FL 33609                                       Phone: (813) 535-5053                         Litigation Settlement                                                          $          296,988.36
    United States


    Specialized Medical Services, Inc.
    7237 Solution Center                                  Name: Anna Wheeler
 18 Chicago, IL 60677                                     Email: anna.wheeler@specializedmed.com
    United States                                         Phone: (414) 476-1112 (ext. 1152)                    Trade                                                                   $          278,728.14



    Superior Medical Staffing LLC
    2431 Aloma Ave.                                       Name: Helen Stevenson
 19 Winter Park, FL 32792                                 Email: hstevenson@realtimeservices.com
    United States                                         Phone: (407) 756-1485                           Staffing Agency                                                              $          275,449.71



    Symphony Diagnostics Services No. 1, LLC
    930 Ridgebrook Rd., Floor 3                           Name: Terri Price
 20 Sparks, MD 21152                                      Email: terri.price@tridentcare.com
    United States                                         Phone: (469) 609-3782                                Trade                                                                   $          267,234.39



    Cristal Jones
    c/o Robert Gordon                                     Name: Robert Gordon
 21 4114 Northlake Blvd.                                  Email: rgordon@fortheinjured.com
    Palm Beach Gardens, FL 33410                          Phone: (855) 201-3544                         Litigation Settlement                                                          $          265,216.00
    United States


     Johnnie Wright
     c/o Mendes, Reins & Wilander                         Name: Blair N. Mendes
 22 4401 W. Kennedy Blvd Ste. 250                         Email: blair@mrwlawgroup.com
     Tampa, FL 33609                                      Phone: (813) 535-5053                         Litigation Settlement                                                          $          261,915.27
     United States


     Point Click Care Inc.
     3261 Martin Luther King Jr. Drive SW                 Name: Diana Macneil
 23 Atlanta, GA 30311                                     Email: diana.macneil@pointclickcare.com
     United States                                        Phone: (905) 858-8885 (ext. 1331)                    Trade                                                                   $          253,594.87



     Joerns Healthcare, LLC
     2430 Whitehall Park Drive                            Name: Lisa Hovis
 24 Charlotte, NC 28273                                   Email: lisa.hovis@joerns.com
     United States                                        Phone: (800) 826-0270 (ext. 1549)                    Trade                                                                   $          226,716.65



     Dialyze Direct
     3297 Route 66                                        Name: Gabi Barat
 25 Neptune, NJ 7753                                      Email: gbarat@dialyzedirect.com
     United States                                        Phone: (718) 298-3376                                Trade                                                                   $          223,756.85




Official Form 204                                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                                page 2
Debtor     Gulf Coast Health Care, LLC, et al.
                                                 Case 21-11336-KBO                             Doc 1         Filed 10/14/21                      Page Case
                                                                                                                                                       21number
                                                                                                                                                           of 25(if known)




         Name of creditor and complete mailing address,     Name, telephone number, and email Nature of the claim Indicate if claim is Amount of unsecured claim
                       including zip code                  address of creditor contact        (for example, trade    contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                               debts, bank loans,  unliquidated, or If claim is partially secured, fill in total claim amount and
                                                                                                  professional         disputed        deduction for value of collateral or setoff to calculate unsecured
                                                                                                    services,                          claim.
                                                                                                and government
                                                                                                     contracts)                                                    Deduction for
                                                                                                                                            Total claim, if      value of collateral
                                                                                                                                          partially secured          or setoff            Unsecured claim
     American Health Associates
     15712 SW 41 Street, Suite 16                         Name: Joanna Pogonat
 26 Davie, FL 33331                                       Email: jpogonat@ahalabs.com
     United States                                        Phone: (954) 919-5028                                 Trade                                                                  $          221,424.97



    Vista Clinical Diagnostics
    3705 S. Hwy 27, Suite 102                             Name: Thomas A. Napolitano
 27 Clermont, FL 34711                                    Email: tom.napolitano@vistaclinical.com
    United States                                         Phone: (352) 242-7920                                 Trade                                                                  $          212,654.44



    Glenn Voigt
    c/o Mendes, Reins & Wilander
 28 4401 W. Kennedy Blvd Ste. 250                         Name: Blair N. Mendes
    Tampa, FL 33609                                       Email: blair@mrwlawgroup.com                   Litigation Settlement                                                         $          197,559.70
    United States                                         Phone: (813) 535-5053


    John Allen Perry
    c/o Mendes, Reins & Wilander
 29 4401 W. Kennedy Blvd Ste. 250                         Name: Blair N. Mendes
    Tampa, FL 33609                                       Email: blair@mrwlawgroup.com                   Litigation Settlement                                                         $          186,159.51
    United States                                         Phone: (813) 535-5053


    MetLife
    200 Park Ave.
    New York, NY 10166                                    Name: Jim O’Donnell
 30
    United States                                         Email: jodonnell@metlife.com                         Benefits                                                                $          181,618.54
                                                          Phone: (908) 253-1801


    ENGIE Impact
    450 Lexington Ave., 4th Floor
                                                          Name: Amy Barcellos
 31 New York, NY 10017                                                                                         Utilities                                                               $          173,028.70
    United States                                         Email: amy.barcellos@engie.com
                                                          Phone: (509) 329-7022

    Mitchell Technology Services
    16290 North Shore Dr.
 32 Pensacola, FL 32507                                   Name: Charles Mitchell
    United States                                         Email: charles.r..mitchell@att.net                    Trade                                                                  $          165,600.00
                                                          Phone: (813) 535-5053

     Flora Mae Brown
     c/o Mendes, Reins & Wilander
 33 4401 W. Kennedy Blvd Ste. 250                         Name: Blair N. Mendes
     Tampa, FL 33609                                      Email: blair@mrwlawgroup.com                   Litigation Settlement                                                         $          162,913.55
     United States                                        Phone: (813) 535-5053

    Derris Buck
    c/o William A. Dean                                   Name: William A. Dean
 34 3323 NE 163rd St., Suite 605                          Email: bill@forddean.com
    North Miami Beach, FL 33160                           Phone: (305) 670-2000                          Litigation Settlement                                                         $          150,196.00
    United States


    Baptist Health Care Corporation
    1717 N. E Street                                      Name: Shay Myrick
 35 Pensacola, FL 32501                                   Email: shay.myrick@bhcpns.org
                                                                                                                Trade                                                                  $          147,427.81
    United States                                         Phone: (850) 434-4848


     Singing River Hospital System
     2809 Denny Ave.                                      Name: Charlie Brinkley
 36 Pascagoula, MS 39581                                  Email: charlie.brinkley@mysrhs.com
     United States                                                                                              Trade                                                                  $          146,689.30
                                                          Phone: (228) 497-7597


    Base 10 Genetics
    8 W. Monroe St., Suite 2101                           Name: Jay Hastings
 37 Chicago, IL 60603                                     Email: jhastings@base10genetics.com
    United States                                                                                               Trade                                                                  $          138,995.00
                                                          Phone: (866) 710-1018


    Weldon Jones
    c/o Ronald Gilbert, Nathan Carter                     Name: Ronald Gilbert & Nathan Carter
 38 801 N. Orange Ave., #830                              Email: rgilbert@thefloridafirm.com
    Orlando, FL 32801                                            ncarter@thefloridafirm.com              Litigation Settlement                                                         $          138,152.50
    United States                                         Phone: (407) 712-7300

    Jimmy Lott
    c/o De La Piedra                                      Name: Jack De La Piedra
 39 6 Tristan Way                                         Email: jack@delapiedralaw.com
    Pensacola, FL 32561                                   Phone: (850) 932-8560                          Litigation Settlement                                                         $          132,151.00
    United States

     Staples Advantage
     P.O. Box 660409                                      Name: Lamar Huff
 40 Dallas, TX 75266                                      Email: lamar.huff@staples.com                         Trade                                                                  $          127,035.70
                                                          Phone: (706) 616-4221




Official Form 204                                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims                                               page 3
                   Case 21-11336-KBO             Doc 1       Filed 10/14/21       Page 22 of 25




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                 )     Chapter 11
    In re:                                                       )
                                                                 )     Case No. 21-[             ](     )
                                                         1
    GULF COAST HEALTH CARE, LLC, et al.,                         )
                                                                 )     (Joint Administration Requested)
                                      Debtors.                   )
                                                                 )
                                                                 )

                   CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Gulf Coast Health Care, LLC and certain of its affiliates and subsidiaries, as debtors and debtors-

in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully

represent as follows with respect to the Debtors’ direct and indirect corporate ownership:

             1.     Non-Debtor Gulf Coast Health Care Holdings, LLC owns 100% of the

membership interests in Gulf Coast Health Care, LLC. Non-Debtor Southeast US Holdings,

LLC owns 50% of the membership interests in non-Debtor Gulf Coast Health Care Holdings,

LLC and non-Debtor BSREF III Parallel Investor I, LLC owns approximately 15% of the

membership interests in non-Debtor Gulf Coast Health Care Holdings, LLC. Non-Debtor

Southeast Master Holdings, LLC owns 100% of the membership interests in non-Debtor

Southeast US Holdings, LLC.

             2.     Gulf Coast Health Care, LLC owns 95% of the membership interests in GCH

Management Services, LLC.



1
      The last four digits of Gulf Coast Health Care, LLC’s federal tax identification number are 9281. There are 62
      Debtors in these chapter 11 cases, for which the Debtors have requested joint administration. A complete list of
      the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing
      agent at https://dm.epiq11.com/GulfCoastHealthCare. The location of Gulf Coast Health Care, LLC’s corporate
      headquarters and the Debtors’ service address is 40 South Palafox Place, Suite 400, Pensacola, FL 32502.
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       3.      Gulf Coast Health Care, LLC owns 95% of the membership interests in HUD

Facilities, LLC.

       4.      HUD Facilities, LLC owns 100% of the membership interests in the following

Debtor entities: MS HUD Boyington, LLC; MS HUD Dixie, LLC; MS HUD Ocean Springs,

LLC; MS HUD Pine View, LLC; FL HUD Baybreeze, LLC; FL HUD Bayside, LLC; FL HUD

Destin, LLC; FL HUD Margate, LLC; FL HUD Rosewood, LLC; FL HUD Silvercrest, LLC;

and FL HUD Pensacola, LLC.

       5.      Gulf Coast Health Care, LLC owns 95% of the membership interests in Gulf

Coast Facilities, LLC.

       6.      Gulf Coast Facilities, LLC owns 100% of the membership interests in the

following Debtor entities: MS Greenbough, LLC; MS Lakeside, LLC; MS Shelby, LLC; MS

Singing, LLC; NF Pensacola Manor, LLC; NF Brynwood, LLC; NF Chipola, LLC; NF Glen

Cove, LLC; NF Panama, LLC; NF River Chase, LLC; NF Manor, LLC; NF Suwannee, LLC; NF

Windsor, LLC; NF Escambia, LLC; Brevard Oaks Center, LLC; NF Nine Mile, LLC; AL

Citronelle, LLC; AL Willow Tree, LLC; and SC-GA2018 Cobblestone Rehabilitation and

Healthcare Center, LLC.

       7.      Gulf Coast Health Care, LLC owns 95% of the membership interests in Florida

Facilities, LLC.

       8.      Florida Facilities, LLC owns 100% of the membership interests in the following

Debtor Entities: SF Boynton, LLC; MF Halifax, LLC; MF Debary, LLC; MF Flagler, LLC; SF

Glen Oaks, LLC; MF Heritage, LLC; MF Lake Eustis, LLC; SF Lake Placid, LLC; MF

Longwood, LLC; SF Oakbrook, LLC; SF Kissimmee, LLC; MF Oakwood, LLC; SF Royal




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Manor, LLC; SF Salerno, LLC; MF Winter Park, LLC; SF Carnegie, LLC; SF Brevard, LLC; SF

Lake Placid ALF, LLC; SF Fountainhead, LLC; SF Berkshire, LLC; and SF Tampa, LLC.

       9.     Non-Debtor PAH II, LLC owns 100% of the membership interests in Pensacola

Administrative Holdings, LLC. Non-Debtor Southeast Admin Holdings, LLC owns 50% of the

membership interests in non-Debtor PAH II, LLC and non-Debtor BSREF III Parallel Investor I,

LLC owns approximately 15% of the membership interests in non-Debtor PAH II, LLC. Non-

Debtor Southeast Master Holdings, LLC owns 100% of the membership interests in non-Debtor

Southeast Admin Holdings, LLC.

       10.    Pensacola Administrative Holdings, LLC owns 100% of the membership interests

in Pensacola Administrative Services, LLC.

       11.    Non-Debtor GCMTH II, LLC owns 100% of the membership interests in Gulf

Coast Master Tenant Holdings, LLC. Non-Debtor Southeast MT Holdings, LLC owns 50% of

the membership interests in non-Debtor GCMTH II, LLC and non-Debtor BSREF III Parallel

Investor I, LLC owns approximately 15% of the membership interests in non-Debtor GCMTH II,

LLC. Non-Debtor Southeast Master Holdings, LLC owns 100% of the membership interests in

non-Debtor Southeast MT Holdings, LLC.

       12.    Gulf Coast Master Tenant Holdings, LLC owns 100% of the membership interests

in the following Debtor entities: Gulf Coast Master Tenant I, LLC; Gulf Coast Master Tenant II,

LLC; and Gulf Coast Master Tenant III, LLC.




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 Fill in this information to identify the case and this filing:


              Gulf Coast Health Care, LLC
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         X Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X Other document that requires a declaration__________________________________________________________________________________
                                                      Consolidated Corporate Ownership Statement




        I declare under penalty of perjury that the foregoing is true and correct.


                     10/14/2021
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 M. Benjamin Jones
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
